Case 2:23-cr-00197-JS-AYS Document 1-1 Filed 05/09/23 Page 1 of 1 PageID #: 21


                                                                                         FILED
                                      INFORMATION SHEET                                IN CLERK'S OFFtce
                                                                                 U.S. DISTRICT COURT E,O.N.V.

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK
                                                                                 * MAY 09 2023 *
                                                                                 LONG ISLAND OFFICE
1.      Title of Case: United States v. George Anthony Devolder Santos

2.      Related Magistrate Docket Number(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

3.

4.
        Arrest Date:   5/10/2023

        Nature of offense(s):     181 Felony
                                                         IR    SEYBERT,J.
                                                                         23             197
                                  □   Misdemeanor
                                                                SHIELDS, M.J.
5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
        Division of Business Rules): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

6.      Projected Length of Trial:     Less than 6 weeks       181
                                       More than 6 weeks       □

7.      County in which crime was allegedly committed: _N_as_s__au_ _ _ _ _ _ _ _ _ __
        (Pursuant to Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012. 1       □ Yes IZI No

9.      Has this indictment/information been ordered sealed?           181 Yes   □ No

10.     Have arrest warrants been ordered?                             181 Yes   □ No

11.     Is there a capital count included in the indictment?   □ Yes    ~ No

                                                      BREON PEACE
                                                      United States Attorney

                                               By:    /:.......s/_ _ _ _ _ _ _ _ __
                                                      Ryan C. Harris, (718) 254-6489
                                                      Anthony Bagnuola, (631) 715-7849
                                                      Laura Zuckerwise, (718) 254-6204
                                                      Assistant U.S. Attorneys




        Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
